          Case 9:18-ap-01058-DS                     Doc 234 Filed 03/23/20 Entered 03/23/20 10:21:29                                 Desc
                                                     Main Document     Page 1 of 4
 Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number     FOR COURT USE ONLY
     Brian L. Davidoff (SBN 102654);
     GREENBERG GLUSKER FIELDS CLAMAN & MACHTINGER LLP
     2049 Century Park East; Suite 2600
     Los Angeles, CA 90067
     T: 310 553-3610 F: 310 553-0687
     E: bdavidoff@greenbergglusker.com
       Attorney for


                      UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA

 In re
                                                                                               CHAPTER


                                                                                Debtor(s),     CASE NUMBER

                                                                                                      ADVERSARY NUMBER (if applicable)
                                                                               Plaintiff(s),          See attached list for multiple cases that require
                                                                                                      an update to the attorneys information

                                              vs.



                                                                                Debtor(s).

                          NOTICE OF ATTORNEY CHANGE OF ADDRESS OR LAW FIRM
                                    (See page 2 for additional requirements)

The following information must be provided:

I,       Brian L. Davidoff                        SBN 102654             bdavidoff@greenbergglusker.com
                    Name                       Bar ID Number                      E-Mail Address
         am counsel of record or
          out-of-state attorney in the above-entitled cause of action for the following party(s) (single case)



         am counsel of record or
          out of state attorney on all cases listed as an attachment to this form (multiple cases)

and am requesting the following change(s):

                                  PROVIDE ONLY THE INFORMATION THAT HAS CHANGED

         Attorney Name changed to
         New Firm/Government Agency Name
         New Address 2049 Century Park East; Suite 2600; Los Angeles, CA 90067
         New Telephone Number                                  New Facsimile Number
         New E-Mail Address




                                                    Notice of Change of Address or Law Firm
(September 2009)
00101-00002/3744943.1
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SELECT THE CATEGORY AND COMPLETE THE INFORMATION REQUESTED:

      TO UPDATE NAME, ADDRESS OR FIRM INFORMATION:
           I am providing the new information above pursuant to Local Rule 2091-1 to be updated on the
           above-entitled cause of action and/or all cases listed on the attachment.
      TO BE TERMINATED FROM THE CASE:**
             I am, or
                the aforementioned attorney from my firm is no longer counsel of record in the above-entitled
                cause of action and/or all cases listed on the attachment.

          Note: Attorneys for parties are never deleted from a case in order to maintain historical data.

   CHECK ONE BOX
         The order relieving me/the aforementioned attorney from my firm was entered on:
         There is/are other attorney(s) from the undersigned attorney's law firm/government agency who
         is/are counsel of record in this case.
         I am, or
             the aforementioned attorney is no longer with the firm/government agency representing the
             above-named party in this action. There is/are attorney(s) from my former firm/government
             agency who are currently counsel of record in this/these case(s).

        **This form cannot be used as a substitution of attorney form. For substitution of attorney procedures please refer to
        Local Bankruptcy Rule 2091-1 and form F2090-1.4, Substitution of Attorney. At least one member of the
        firm/government agency MUST continue to represent and receive service for the parties indicated in this action.

Dated: March 23, 2020                                              /s/ Brian L. Davidoff
                                                                   Signature of Present Attorney
                                                                   Brian L. Davidoff (SBN 102654)
IF YOUR FIRM IS NOT ALREADY PART OF THIS ACTION AND ARE ASSOCIATING IN AS COUNSEL OF RECORD A
NOTICE OF APPEARANCE PURSUANT TO F.R.B.P. 9010(b) SHOULD BE FILED. IF YOU ARE GOING TO APPEAR
PRO HAC VICE, A SEPARATE APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE
MUST BE FILED PURSUANT TO LBR 2090-1(b).

PLEASE NOTE: CM/ECF users must file this Notice of Change of Address or Law Firm separately and
electronically for every pending case pursuant to Local Bankruptcy Rule 2091-1. Please refer to the
procedures posted on the Court's website on how to file this notice for single or multiple cases. The court will
update the case information once filed.




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             ATTACHMENT TO NOTICE OF ATTORNEY CHANGE OF ADDRESS OR LAW FIRM

             Attorney Brian L. Davidoff’s Pending Cases in the United States Bankruptcy Court
                                         Central District of California

  Case Name                         Case /Adversary No.            Representing

  Art & Architecture Books of the   2-13-bk-14135-RK               400 S. La Brea, LLC, Daryoush Dayan,
  21st Century                                                       Kamran Gharibian and Michael D.
                                                                                   Smith
  Sam Leslie v. Ace Gallery New     2:15-ap-01679-RK               400 S. La Brea, LLC, Daryoush Dayan,
  York Corp, et al.                 Consolidated with: 14-ap-        Kamran Gharibian and Michael D.
                                    01771-RK                                       Smith
  Winters-Schram & Associates       1:19-bk-11777-VK                  Ziad Ghandour and 547 PBR LLC
  L. Scott Apparel, Inc.            2:13-bk-26021-RK                   Howard Grobstein as Liquidating
                                                                       Trustee of L. Scott Apparel Inc.
                                                                        Bankruptcy Liquidating Trust
  Howard Grobstein v. Lowell S.     2:15-ap-01122-RK                   Howard Grobstein as Liquidating
  Sharron, et al.                                                       Trustee of L. Scott Apparel Inc.
                                                                         Bankruptcy Liquidating Trust
  American Solar Direct, Inc.       2:17-bk-16804-BR                    Adenium Energy Capital, Ltd.
  Richard K. Diamond V.             2:19-ap-01158-BR                    Adenium Energy Capital, Ltd.
  American Solar Direct, Inc.
  Prototype Engineering &           2:17-bk-21018-RK               Bahram Bordbar and Malahat Bordbar,
  Manufacturing, Inc.                                                individually and as Trustees of the
                                                                    Bordbar Family Trust, Sara Bordbar,
                                                                        and Leya Technologies, LLC
  Wesley H. Avery v. Leya           2:19-ap-01332-RK               Bahram Bordbar and Malahat Bordbar,
  Technologies, LLC, et al.                                          individually and as Trustees of the
                                                                    Bordbar Family Trust, Sara Bordbar,
                                                                        and Leya Technologies, LLC
  Orbbo Surgical LLC                2:19-bk-10632-VZ                 VennWest Global Technologies, Inc.
  Freedom Communications, Inc.      8:15-bk-15311-MW                     ACI Last Mile California, LLC
  Paradigm International, Inc.      8:18-bk-14623-SC                          Acme United Corp.
  Ultimate Brands, Inc.             8:19-bk-12516-TA                            660 BVD, LLC
  Channel Technologies Group,       9:16-bk-11912-DS                 Fidus Investment Corporation, Fidus
  LLC                                                                 Mezzanine; Capital II, L.P., Avante
                                                                      Mezzanine Partners SBIC, LP; and
                                                                      Avante Mezzanine Partners II, Inc.
  Corporate Recovery Associates,    9:18-AP-01058-DS                 Fidus Investment Corporation, Fidus
  LLC v.. Blue Wolf Capital                                           Mezzanine; Capital II, L.P., Avante
  Partners, LLC, et al.                                               Mezzanine Partners SBIC, LP; and
                                                                      Avante Mezzanine Partners II, Inc.




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  Corporate Recovery Associates,   9:19-ap-01019-DS                 Fidus Investment Corporation, Fidus
  LLC v.. Grant Thornton, LLP.                                       Mezzanine; Capital II, L.P., Avante
                                                                     Mezzanine Partners SBIC, LP; and
                                                                     Avante Mezzanine Partners II, Inc.
  In re Dante Lorenzo Venegas      2:18-bk-17826-BB                          Dante Lorenzo Venegas
  Dante Lorenzo Venegas v.         2:18-ap-01462-BB                          Dante Lorenzo Venegas
  Educational Credit Management
  Corporation
  LGH Digital Media. lnc., dba     2:19-bk-21075-ER                 LGH Digital Media. lnc., dba Larson
  Larson Studios                                                                 Studios




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